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Message

From: O'Connor, Eileen [eileen.oconnor@yale.edu]

Sent: 3/1/2016 10:13:20 PM

To: David M. Post [david.post@yale.edu]

cc: Sawyer, Susan [susan.sawyer@yale.edul]; Spangler, Stephanie [stephanie.spangler@yale.edu]; Conroy, Thomas
[tom.conroy@yale.edu]; Dreier, Alexander [alexander.dreier@yale.edu]

Subject: Re: Jezebel

 

Eileen

Sent from my iPhone

On Mar 1, 2016, at 6:39 PM, David M. Post <david. post@ivale.edu> wrote:

    

 

Cheers,
David
On 3/1/2016 6:32 PM, Sawyer, Susan wrote:

 

Susan Sawyer

Senior Associate General Counsel

Yale University

Office of the Vice President and General Counsel
2 Whitney Avenue, 6th Floor

New Haven, CT 06510

Tel: (203)432-4949
Fax: (203) 432-7960
Email: susan sawvyer@yale.edu

 

<torn.conroy @yale.edu>, “O'Connor, Eileen" <eilgen.oconnor@yaie edu>

 

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Cec: "Dreier, Alexander" <alexander.dreler @yale.edu>

 

Subject: Re: Jezebel

Ships (emails) crossing and all that.

 

Cheers,
David.
On 3/1/2016 6:20 PM, Sawyer, Susan wrote:

 

Susan Sawyer

Senior Associate General Counsel

Yale University

Office of the Vice President and General Counsel
2 Whitney Avenue, 6th Floor

New Haven, CT 06510

Tel: (203)432-4949
Fax: (203) 432-7960

Email: susan.sawyer@iyale.edu

From: "Spangler, Stephanie" <stephanie. spangler@ yale edu>

Date: Tuesday, March 1, 2016 at 6:16 PM

To: "Conroy, Thomas” <torn.conroy@yale.edu>, “O'Connor, Eileen" <é
<susan. sawyer Glyale.edu>, "David M. Post" <davic post@yale.edu>
Cc: "Spangler, Stephanie" <stephanie spangler@ yale ecdu>

Subject: RE: Jezebel

 

ieen oconnor@yale.ecdu>, Susan Sawyer

   

 

Dear Tom,

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if this is not enough, let me know and thanks so

much for your help.
Best,
SSS

Stephanie 5. Spangler, M.D.

Deputy Provost for Health Affairs and Academic Integrity
Clinical Professor of Obstetrics and Gynecology
University Tithe IX Coordinator

Telephone: 203-432-4446
Fax: 203-432-8139

From: Conroy, Thomas
Sent: Tuesday, March 01, 2016 5:59 PM

 

<susan sawyer Glyale.edu>; David M. Post <davic post@yale.edu>
Subject: Jezebel

This is the followup from the Jezebel reporter, who knows we are saying nothing about the player.

 

Tom

Hi Tom, thanks for getting back to me.

i was hoping to clarify with Stephanie what exactly Title [X requires of Yale in terms of confidentiality on behalf of the accused, and
whether the Yale executive committee abides by a "three strikes and you're out” -type rule—for example, is there a certain number of
times a student can be "excommea” that translates to automatic expulsion?

Thanks,
Ellie

David M. Post
Professor of Ecology and Evolutionary Biology
Chair, University-Wice Committee on Sexual Misconduct

 

Yale University
203-432-3005

David M. Post
Professor of Ecology and Evolutionary Biology

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Chair, University-Wice Committee on Sexual Misconduct
Yale University
203-432-3005

postieb. yele.edu

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Message

From: David M. Post [david.post@yale.edu]

Sent: 3/15/2016 9:57:27 PM

To: Rose, Harold [harold.rose@yale.edu]; Menon, Alice [aley.menon@yale.edul; Sawyer, Susan
[susan.sawyer@yale.edu]

Subject: FW: YDN Inquiry

Thank you Harold. That should have read "for YC students, we notify their ... "

Cheers,
David.
On 3/15/2016 9:42 PM, Rose, Harold wrote:

Thanks, David. ee

 

Sent: Tuesday, March 15, 2016 8:15 PM

To: Rose, Harold; Menon, Alice; Sawyer, Susan
Subject: Re: FW: YDN Inquiry

Hello Harold,

Good. | appreciate the fuller explanation of penalties.
We notify Stephanie in all cases and for YC deans we notify their college dean, who typically delivers the complaint.

i was trying to find a way to address the question about being allowed to participate in sports in a general way. It has
emerged as an issue at at other universities (an Oregon basketball case comes to mind right away). Perhaps something

along the lines of lls

Cheers,

David

On 3/15/2016 5:54 PM, Rose, Harold wrote:
All,

 

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Begin forwarded message:

From: Daniela Brighenti <daniela.brighenti@yale.edu>

Date: March 15, 2016 at 4:27:06 PM EDT

To: Thomas P Conroy <tom.conroy@yale.edu>, <eileen.oconnor@yale.edu>
Cc: Maya Rachel Sweedler <maya.sweedler @yale.edu>

Subject: YDN Inquiry

Dear Mr. Conroy,

 

i hope this email finds you well. This is Daniela from the Yale Daily News. We understand that our communication on this
story should be addressed to you specifically, so we are writing with some questions we have run into these last few
days.

i understand some of these questions are technical, and if you cannot personally speak to them please do point me
towards someone who can speak to us on this topic to clarify.

You mentioned in your staternent that “Only about one out of 10 cases ends in expulsion, and the decision to expel a
student is made only after the most careful consideration, based on the facts and, when appropriate, disciplinary
history."

Can you comment on what this disciplinary history includes in typical cases? How often is disciplinary history used? Does
this history include both informal and formal complaints brought to the UWC and complaints brought to the Yale
Executive Committee? Would any penalties by either UWC or ExComm be included in this history?

You also stated that "One out of five formal sexual misconduct hearings ends without a finding against the accused, and,
in two out of five cases, the accused student receives a reprimand or probation."

Can you comment on what happens in the other two out of five cases? Is there no ruling? Is the claim dropped by a
complainant? Or do the accused withdraw, transfer or take time off from Yale to avoid punishment?

You added that "Only about one out of 10 cases ends in expulsion.."
Are the cases that end in expulsion included in the two out of five cases that end in “reprimand” cited previously?

We also had other questions that don’t speak specifically to your statement yesterday:

e Incases of
a UWC or

disciplinary proceedings where the student being accused is also a varsity athlete, is

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anyone other than their adviser, such as their coach,
notified at all during the proceedings before a final decision is made?

e {sit standard procedure for a student-athlete to be allowed to keep playing while being involved ina
UWC or

disciplinary proceeding?

Lastly, one of our sources who has been through the documents told us head coach James Jones served as Jack's
advisor. Can you confirm that information?
And also, would you happen to have

an
update on the clarifications Maya asked for in an email yesterday regarding informal complaints?

i look forward to hearing back from you.
Best,

Daniela Brighenti
Yale University '18
+1475 227 4765

David M. Post

Professor of Ecology and Evolutionary Biology

Chair, University-Wide Committee on Sexual Misconduct
Yale University

203-432-3005

postlab.yale.edu

David M. Post

Professor of Ecology and Evolutionary Biology

Chair, University-Wide Committee on Sexual Misconduct
Yale University

203-432-3005

postlab.yale.edu

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Message

From: David M. Post [david.post@yale.edu]

Sent: 3/15/2016 8:11:56 PM

To: Rose, Harold [harold.rose@yale.edu]; Menon, Alice [aley.menon@yale.edul; Sawyer, Susan
[susan.sawyer@yale.edu]

Subject: Re: FW: YDN Inquiry

Hello Harold,
Good. | appreciate the fuller explanation of penalties.
We notify Stephanie in all cases and for YC deans we notify their college dean, who typically delivers the complaint.

i was trying to find a way to address generally the question about being allowed to participate in sports because it has

 
 

come up at other univ. Perhaps something a long the lines of:

 
 

Cheers,

David

On 3/15/2016 5:54 PM, Rose, Harold wrote:
ALL,

 

Begin forwarded message:

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From: Daniela Brighenti <daniela.brighenti@yale.edu>

Date: March 15, 2016 at 4:27:06 PM EDT

To: Thomas P Conroy <tom.conroy@yale.edu>, <eileen.oconnor@yale.edu>
Cc: Maya Rachel Sweedler <maya.sweedier@yale.edu>

Subject: YDN Inquiry

Dear Mr. Conroy,

 

i hope this email finds you well. This is Daniela from the Yale Daily News. We understand that our cornmunication on this
story should be addressed to you specifically, so we are writing with some questions we have run into these last few
days.

i understand some of these questions are technical, and if you cannot personally speak to them please do point me
towards someone who can speak to us on this topic to clarify.

You mentioned in your statement that “Only about one out of 10 cases ends in expulsion, and the decision to expel a
student is made only after the most careful consideration, based on the facts and, when appropriate, disciplinary
history."

Can you comment on what this disciplinary history includes in typical cases? How often is disciplinary history used? Does
this history include both informal and formal complaints brought to the UWC and complaints brought to the Yale
Executive Committee? Would any penalties by either UWC or ExComm be included in this history?

You also stated that "One out of five formal sexual misconduct hearings ends without a finding against the accused, and,
in two out of five cases, the accused student receives a reprimand or probation."

Can you comment on what happens in the other two out of five cases? Is there no ruling? Is the claim dropped by a
complainant? Or do the accused withdraw, transfer or take time off from Yale to avoid punishment?

You added that "Only about one out of 10 cases ends in expulsion..."
Are the cases that end in expulsion included in the two out of five cases that end in “reprimand” cited previously?

We also had other questions that don't speak specifically to your statement yesterday:

&#6 1623 in cases of

a UWC or

disciplinary proceedings where the student being accused is also a varsity athlete, is
anyone other than their adviser, such as their coach,

notified at all during the proceedings before a final decision is made?

&#61623 Is it standard procedure for a student-athlete to be allowed to keep playing while being involved ina

UWC or

disciplinary proceeding?

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Lastly, one of our sources who has been through the documents told us head coach James Jones served as Jack's
advisor. Can you confirm that information?
And also, would you happen to have

an
update on the clarifications Maya asked for in an email yesterday regarding informal complaints?

i look forward to hearing back from you.
Best,

Daniela Brighenti
Yale University '18
+1475 227 4765

David M. Post

Professor of Ecology and Evolutionary Biology

Chair, University-Wide Committee on Sexual Misconduct
Yale University

203-432-3005

postlab.yale.edu

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Message

From: Menon, Alice [/O=YALE UNIVERSITY/OU=EXCHANGE ADMINISTRATIVE GROUP
(FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=ALEY.MENON]

Sent: 3/14/2016 12:39:19 PM

To: David M. Post [david.post@yale.edu]

Subject: FW: Confidential: Montague Statement

As discussed.

From: “Rose, Harold" <harold.rose@yale.edu>
Date: Monday, March 14, 2016 at 11:02 AM

To: "Goldberg, Carole" <carole.goldber ale.edu>
Cc: "Sawyer, Susan" <susan.sawyer@yale.edu>, "Post, Robert" <robert.post@yale.edu>, Aley Menon

<aley.menon@yale.edu>

Subject: Confidential: Montague Statement

Dear Carole,

 

Regards, Harold

 

Harold Rose, Senior Associate General Counsel
Yale University

PO Box 208255

New Haven, CT 06520-8255

(203) 432-4949

Confidential YALE00012210
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Message

From: Conroy, Thomas [/O=YALE UNIVERSITY/OU=EXCHANGE ADMINISTRATIVE GROUP
(FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=TOM.CONROY]

Sent: 3/16/2016 6:24:12 PM

To: Spangler, Stephanie [stephanie.spangler@yale.edu]; Rose, Harold [harold.rose@yale.edu]; O'Connor, Eileen
[eileen.oconnor@yale.edu]

cc: Killheffer, Jason [jason.killheffer@yale.edu]

Subject: Re: sexual misconduct procedures ...

Importance: High

Good, she didn’t ask that specifically, so no need to go into it. Thanks.
Tom

From: "Spangler, Stephanie" <stephanie.spangler@yale.edu>

Date: Wednesday, March 16, 2016 at 6:09 PM

To: Harold Rose <harold.rose@yale.edu>, Thomas Conroy
<tom.conroy@yale.edu>, "O'Connor, Eileen" <eileen.oconnor@yale.edu>
Ce: "Spangler, Stephanie" <stephanie.spangler@yale.edu>, Jason Killheffer
<jason.killheffer@yale.edu>

Subject: RE: sexual misconduct procedures ...

 

Dear Tom,

 

Thanks for all of this good work—please do not hesitate to call me if you'd like to discuss (cell=203-605-0664}.

All the best,
Stephanie
Stephanie S. Spangler, M.D.

Deputy Provost far Health Affairs and Academic Integrity
Clinical Professor of Obstetrics and Gynecology

Confidential YALE00016008
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University Title DC Coordinator

Telephone: 203-432-4446
Fax: 203-432-8139

From: Rose, Harold

Sent: Wednesday, March 16, 2016 1:52 PM

To: Conroy, Thomas <tom.conroy@yale.edu>; O'Connor, Eileen <eileen.oconnor@yale.edu>; Spangler, Stephanie
<stephanie.spangler@yale.edu>

Subject: RE: sexual misconduct procedures ...

Hi Tom,

 

Regards, Harold

From: Conroy, Thomas

Sent: Wednesday, March 16, 2016 1:14 PM

To: O'Connor, Eileen <eileen.oconnor@yale.edu>; Rose, Harold <harold.rose@yale.edu>; Spangler, Stephanie
<stephanie.spangler@yale.edu>

Subject: Re: sexual misconduct procedures ...

You will see the message below from Hartford Courant reporter Kathy Megan, who is doing a followup story on the
UWC. Here is a draft response for review.

 

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Case 3:16-cv-00885-AVC Document 89-19 Filed 05/16/17 Page 14 of 15

 

From: Kathy Megan <KMegan@courant.com>
Date: Wednesday, March 16, 2016 at 12:17 PM
To: Thomas Conroy <tom.conroy@yale.edu>
Subject: RE: sexual misconduct procedures ...

Ok, thanks, Tom!

Sent: Wednesday, March 16, 2016 12:21 PM
To: Megan, Kathy
Subject: Re: sexual misconduct procedures ...

Kathy, | will get back you.
Tom

From: Kathy Megan <KMegan@courant.com>
Date: Wednesday, March 16, 2016 at 11:37 AM
To: Thomas Conroy <tom.conroy@yale.edu>
Subject: re: sexual misconduct procedures ...

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H! Tom,

| realize no one in the administration or Title IX office can say anything about the Jack Montague situation, but |
wondered if you or someone else there (Deputy Provost Stephanie Spangler?) could talk about why Yale made the
changes in its campus judicial process for sexual misconduct back in 2011 and if the new approach is in various ways
helping more victims/survivors to come forward. Basically, I’d like to ask why this new system is better.

Would also like to discuss why it’s all done in private. And | wanted to ask about why in some cases (according to
Montague’s lawyer in his case), a Title IX official might file a complaint, rather than the survivor herself.

Editors here and many in the public have questions about why campuses have these judicial systems trying to make
decisions in these very complicated cases ... So I’m trying to write a little about why these judicial systems exist and how
they have been improved in recent years.

Also, if there is any further comment you can make on the Montague case, we would be interested ! .,. This situation
with the Montague’s lawyer releasing information about the case is something we couldn’t ignore, but it did make for a
story that is more lopsided than we’d like bec we can’t get the survivor’s side in the story bec no information has been
released ....... I’m sure Yale had plenty of reason for the expulsion.. If there is any more you can say about that, would
be interested.

Should | give Stephanie Spangler a call or what do you think?

Thanks,

Kathy Megan
Hartford Courant
860-241-6593 desk
860-670-5826 cell

Confidential YALE00016011
